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14
15                         UNITED STATES DISTRICT COURT
16
                                  DISTRICT OF ARIZONA
17
18
     RICHARD and KRISTIN ZABRISKIE,             )       No. ______________________
19   married individuals,                       )
                                                )
20
                    Plaintiffs,                 )
21                                              )                COMPLAINT
     v.                                         )
22
                                                )
     FEDERAL NATIONAL MORTGAGE
23                                              )           JURY TRIAL REQUESTED
     ASSOCIATION and FEDERAL
                                                )
24   HOUSING FINANCE AGENCY as the
                                                )
     Conservator of FEDERAL NATIONAL
25                                              )
     MORTGAGE ASSOCIATION,
                                                )
26
                                                )
                    Defendants.
27                                              )
28
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 1                            I. PRELIMINARY STATEMENT
 2
           1.     Plaintiffs Richard and Kristin Zabriskie, mortgage applicants subjected to
 3
     the repeated violation of and intentional non-compliance with the Fair Credit Reporting
 4
 5 Act, 15 U.S.C. §1681 et seq. (the “FCRA”), bring this action against Defendants
 6
     Federal National Mortgage Association (“Fannie Mae”) and Federal Housing Finance
 7
     Agency (“FHFA”), as the Conservator of Fannie Mae.
 8
 9         2.     As a well-known colossus in the secondary mortgage loan market, Fannie
10
     Mae also silently plays a dominant role in home mortgage loan origination. While its
11
     involvement in the loan origination process is largely unknown to the public, Fannie
12
13 Mae exerts a tremendous influence on each step of the application process. Through its
14
     automated underwriting system that it requires lenders to use throughout the country,
15
     Fannie Mae obtains, reviews and evaluates consumer credit information in advance of
16
17 loan origination for its own underwriting purposes; charges lenders, brokers and
18
     consumers for this information through the generation and publication of consumer
19
     reports; and dictates to lenders and consumers the outcome of mortgage loan
20
21 applications, including rates and terms.     This process enables Fannie Mae to reap
22
     significant profits by carrying out a business model based on risk-based pricing and the
23
     collection of fees for each loan application run through its automated underwriting
24
25 system.
26
           3.     However, despite its role as a consumer reporting agency and/or a
27
     reseller of credit information in a typical mortgage transaction, Fannie Mae has
28

                                                2
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 1 deliberately made itself unaccountable to consumers, and intentionally fails to comply
 2
     with any of the requirements imposed on it by the FCRA.
 3
            4.     Fannie Mae’s flagrant disregard for the law results from a presumed
 4
 5 contention that, as a government-sponsored enterprise, it is somehow exempt from the
 6
     grave responsibilities imposed by the FCRA on every other company that assembles,
 7
     disseminates and/or sells consumer credit information. As such, mortgage applicants
 8
 9 like Plaintiffs are harmed because they are denied certain rights guaranteed by the
10
     FCRA, including the ability to discover what information may have impacted
11
     their loan eligibility, the right to request and/or dispute the information that was
12
13 considered in connection with their applications, and the right to expect that their credit
14
     information was reported with maximum possible accuracy.
15
                                         II. PARTIES
16
17          5.     Plaintiffs, Mr. and Mrs. Zabriskie, are married adult individuals who are
18
     residents of Gilbert, Maricopa County, Arizona.
19
            6.     Defendant Fannie Mae is a publicly held corporation with a principal
20
21 place of business located at 3900 Wisconsin Ave., NW Washington, DC 20016-2892,
22
     and which regularly conducts business throughout Arizona and in all fifty (50) states in
23
     the United States.
24
25          7.     Defendant Federal Housing Finance Agency (“FHFA”) is an independent
26
     federal agency, created under the Housing and Economic Recovery Act of 2008, Pub. L.
27
28

                                                3
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 1 No. 110–289, 122 Stat. 2654 (codified at 12 U.S.C. § 4617 et seq.). On September 6,
 2
     2008, Fannie Mae was placed under the conservatorship of the FHFA.
 3
            8.     Fannie Mae is a “consumer reporting agency” as that term is defined by
 4
 5 Section 1681a(f) of the FCRA.
 6
                                III. JURISDICTION AND VENUE
 7
            9.     This Court has subject matter jurisdiction over this matter pursuant to 15
 8
 9 U.S.C. § 1681p and 28 U.S.C. § 1337.
10
            10.    Venue in this judicial district is proper because Mr. and Mrs. Zabriskie
11
     reside in this judicial district and many of the facts relevant to this Complaint occurred
12
13 in this judicial district.
14
                                 IV. FACTUAL ALLEGATIONS
15
                  A. Fannie Mae and Its Automated Desktop Underwriter System
16
17          11.    Fannie Mae is a shareholder-owned for-profit corporation that is publicly
18
     traded on the U.S. Stock Exchange.
19
            12.    Fannie Mae is also a government-sponsored enterprise (“GSE”) because it
20
21 was chartered by Congress to provide a secondary market for home mortgages. In
22
     exchange for its agreement to act as a mortgage loan purchaser in the secondary market,
23
     Fannie Mae’s charter provides it with certain financial advantages and incentives.
24
25          13.    Due to federal banking regulations requiring most primary mortgage
26
     lenders to maintain minimum capital, many mortgage lenders in the United States sell
27
     their loans to Fannie Mae after they originate the loan.
28

                                                  4
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 1         14.    Fannie Mae, together with its “little brother” Freddie Mac, purchase or
 2
     guarantee more than 75% of all mortgages originated in the United States, depending
 3
     upon market conditions and consumer trends.
 4
 5         15.    Fannie Mae purchases what are known as “conventional conforming”
 6
     loans. These are loans that are not insured or guaranteed by the federal government, are
 7
     less than $417,000.00, and have certain prescribed risk characteristics. Fannie Mae
 8
 9 publishes its Selling Guide which outlines the specific requirements necessary for
10
     eligibility for Fannie Mae purchase.
11
           16.    Fannie Mae buys these conventional conforming loans and either bundles
12
13 them as securities and sells them to investors, or holds the loans in its own portfolios.
14
           17.    Unknown to the public, and due to its status as one of the two (2)
15
     dominant secondary market purchasers of mortgages, along with mortgage lenders’
16
17 interest in assuring the sale of their loans, Fannie Mae has entered into contracts with
18
     numerous mortgage lenders throughout the United States which, in exchange for its
19
     advance commitment to buy mortgage loans from these lenders in the secondary
20
21 market, allow it to dictate the underwriting terms and conditions of most of the
22
     conventional conforming loans that these lenders originate.
23
           18.    For the mortgage lenders who have contracts with Fannie Mae and who
24
25 sell mortgage loans to Fannie Mae in the secondary market, Fannie Mae requires that
26
     mortgage brokers and lenders submit residential mortgage applications through its
27
     Desktop Underwriter automated underwriting system (“DU”) in order to get a quick
28

                                                 5
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 1 approval or denial, the best lender/broker pricing, higher debt-to-income ratios, higher
 2
     loan-to-value ratios, better loan programs not available outside DU, and risk-based
 3
     pricing, before any commitment is made to the prospective borrowers.
 4
 5          19.   For these brokers and lenders, Fannie Mae leases or licenses its DU
 6
     system for use by the lenders or mortgage loan brokers and charges these lenders or
 7
     brokers a fee for each mortgage application run through the DU system.
 8
 9          20.   Fannie Mae’s DU system is also used in connection with non-conforming
10
     loans that Fannie Mae is not permitted to purchase pursuant to its congressional charter.
11
     These other types of loans include, but are not limited to: FHA, Jumbo, and sub-prime
12
13 loans.
14
            21.   Through the DU system, Fannie Mae obtains an applicant’s three-file
15
     and/or “tri-merge” consumer report from either a reseller of credit information, or one
16
17 or more of the three (3) major credit repositories, Equifax, Trans Union and Experian,
18
     which Fannie Mae sells to the lender or broker.
19
            22.   Fannie Mae’s DU system assembles reviews, assesses and evaluates all of
20
21 the information it obtains from the lender and/or broker, and the consumer reporting
22
     agencies and/or resellers, including the consumer reports, and generates its own report,
23
     known most frequently as the Desktop Underwriting Findings (“DU Findings”).
24
25          23.   The DU Findings is a detailed report documenting, among other things,
26
     the applicant’s credit history, credit worthiness, credit standing, credit capacity,
27
     character, general reputation, personal characteristics, mode of living, assets, income,
28

                                                6
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 1 debt-to-income ratio, and employment. Further, the DU Findings contains findings,
 2
     conclusions, comments and results reached by Fannie Mae concerning the applicant’s
 3
     credit and his or her “eligibility” for loan purchase by Fannie Mae, as well as Fannie
 4
 5 Mae’s recommendation as to whether the lender should grant or originate the loan, deny
 6
     the loan or approve it subject to certain conditions being satisfied. These DU Findings
 7
     determinations are made for all types of loans submitted through DU, whether or not
 8
 9 Fannie Mae ultimately purchases them in the secondary market.
10
            24.   Upon information and belief, most mortgage brokers and lenders do not
11
     disclose all or part of an applicant’s DU Findings to the consumers to whom they relate,
12
13 during the ordinary course of their submission of a mortgage loan application to Fannie
14
     Mae.
15
            25.   If Fannie Mae determines that a consumer is ineligible for loan purchase,
16
17 or may only be approved subject to a change in loan terms, a higher interest rate, the
18
     imposition of additional fees, charges, documentation or the satisfaction of certain
19
     underwriting conditions based on information contained in the consumer report it
20
21 obtains, it does not provide the consumer with any notice of the adverse action it has
22
     taken, in violation of the FCRA.
23
            26.   Further, despite the fact that it compiles, maintains, issues and sells its DU
24
25 Findings to lenders and/or brokers on a nationwide basis, Fannie Mae does not provide
26
     consumers with disclosures of the files it maintains on them, the sources of the
27
     information it reports, summaries of their rights, does not maintain any toll-free
28

                                                 7
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 1 telephone numbers available to consumers and does not investigate any consumer
 2
     disputes, in further violation of the FCRA.
 3
            27.    Fannie Mae has been placed on notice by the Federal Trade Commission,
 4
 5 the primary financial regulator first provided with the authority by Congress to interpret
 6
     the provisions of the FCRA, which long ago emphasized that the FCRA is intended to
 7
     cover a very broad range of “assembling” or “evaluating” activities that bring many
 8
 9 entities within the ambit of the FCRA. See 40 Years of Experience With the Fair Credit
10
     Reporting Act – An FTC Staff Report With Summary of Interpretations (July 2011) at
11
     pp. 28-32 (specifically citing to FTC Staff Opinion Letter, William Haynes (June 9,
12
13 1998), 1998 WL 3423759; In the Matter of First American Real Estate Solutions, LLC
14
     (“Credco”), FTC File No. 952 3267 (Oct. 28, 1998)).
15
16                B. Plaintiffs Negotiate a Short Sale of Their Virginia Home
17          28.    Plaintiffs were the owners of a home in northern Virginia with a loan that
18
     was subject to a first mortgage with CitiMortgage, and two (2) Home Equity Lines of
19
20 Credit with PNC Bank.
21          29.    In late 2006, Plaintiffs decided to move from Virginia to the Gilbert,
22
     Arizona area because Mr. Zabriskie had recently completed a Master’s Degree program
23
24 at Johns Hopkins University, the Zabriskies had recently seen the birth of their third son
25 and could rely on the support of extended family living near Gilbert to help care for the
26
   children; and the average cost of living is much less in Arizona, and thus Mrs. Zabriskie
27
28 could potentially make the transition to a full-time, stay-at-home mother of three (3).

                                                   8
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1           30.    In February 2007, Plaintiffs placed their Virginia home on the market.
2
            31.    Upon receiving a job offer, Mrs. Zabriskie and the kids moved to Arizona
3
     so that she could start work, find suitable daycare for the kids, and purchase a home for
4
5 the family. Mr. Zabriskie remained in Virginia and continued working and seeing
6
     through the sale of the home until he was able to find full-time employment in Arizona.
7
            32.    In June 2007, Plaintiffs purchased their current home in Gilbert.
8
9           33.    However, due to economic conditions beyond their control, Plaintiffs
10
     were unable to sell their Virginia home as quickly as they had expected, and as a result,
11
     Plaintiffs were stuck paying two large monthly mortgage payments for almost a year.
12
13          34.    With the unexpectedly low offers that were coming in for the home,
14
     Plaintiffs’ real estate agent advised them that they would need to slip into default on
15
     their mortgage payments for lenders to even consider such offers.
16
17          35.    Plaintiffs take great pride in maintaining an excellent credit history, and
18
     were current on all of their mortgage payments up to this point, and in fact, had never
19
     been late on any payments to any of their creditors before.
20
21          36.    As such, Plaintiffs reluctantly allowed their mortgages to slip into
22
     delinquency so that they could negotiate a short sale of the home with their lenders.
23
            37.    In April 2008, the short sale of Plaintiffs’ Virginia home closed escrow.
24
25          38.    Plaintiffs were able to pay off their first lien mortgage in full upon the
26
     short sale of their home. See Letter from CitiMortgage to the Zabriskies, dated April
27
     17, 2008 (a copy of which is attached hereto as Exhibit 1).
28

                                                 9
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 1          39.       Plaintiffs’ other mortgage accounts were also paid off and closed as a
 2
     result of the short sale, and subsequently reported to the credit reporting agencies as
 3
     “paid settlement.” See Letters from PNC Bank to Kristin A. Zabriskie, dated May 29,
 4
 5 2008 and June 25, 2008, respectively (copies of which are attached collectively hereto
 6
     as Exhibit 2).
 7
            40.       Pursuant to Fannie Mae’s published Desktop Underwriter Guidelines
 8
 9 (“DU Guidelines”), Plaintiffs would not be able to qualify for conventional financing
10
     for a minimum of two (2) years following this short sale.
11
12                C. Plaintiffs Are Denied Mortgage Financing By NationsChoice
13          41.       In May 2012, having waited the mandatory two (2) years, Plaintiffs
14
     contacted NationsChoice Mortgage (“NationsChoice”) to obtain pre-qualification for
15
16 refinancing on their current home mortgage loan.
17          42.       Despite being prequalified in June, NationsChoice told Plaintiffs that they
18
     could not approve the financing because their short sale was flagged as a “foreclosure”
19
20 which, per DU Guidelines, would prevent Plaintiffs from obtaining conventional
21 financing for seven (7) years. Plaintiffs were confused since their previous home was
22
     never in foreclosure at any point.
23
24          43.       Plaintiffs became understandably embarrassed, frustrated and angered,

25 especially when NationsChoice representatives treated Plaintiffs as if they were
26
     deadbeats because of the apparent foreclosure on their credit record, and as if they were
27
28 dumb for seemingly not knowing about it.

                                                   10
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 1          44.    Plaintiffs corresponded on a daily basis with several representatives from
 2
     NationsChoice in an effort to clear up the discrepancy and have the loan approved.
 3
            45.    In doing so, Plaintiffs contacted both CitiMortgage and PNC to ensure
 4
 5 that their previous short sale was being reported accurately to the national credit
 6
     reporting agencies.
 7
            46.    Plaintiffs received response letters from both CitiMortgage and PNC in
 8
 9 mid-July 2012 confirming that the mortgage accounts at issue were never reported or
10
     identified to the national credit reporting agencies as having been subject to foreclosure,
11
     but rather were always reported correspondingly as “paid in full” or “settled in full.”
12
13          47.    Ultimately, Plaintiffs were shown the door by NationsChoice without
14
     being able to secure the financing they were prequalified to receive.
15
            48.    Plaintiffs also lost their application and appraisal fees with the denial.
16
17          49.    Although extremely disappointed and dumbfounded with NationsChoice’s
18
     unforeseen decision, Plaintiffs were nonetheless determined to set the record straight
19
     quickly as they stood to decrease their mortgage payment by approximately $500.00 per
20
21 month through the refinance.
22
                  D. Plaintiffs’ Uncover The False Foreclosure Notation In DU Findings
23
            50.    Plaintiffs received and reviewed a copy of the DU Findings pertaining to
24
25 them that NationsChoice had obtained from Fannie Mae, and had relied upon in denying
26
     Plaintiffs’ application.
27
28

                                                  11
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 1          51.    These DU Findings correctly noted a potential short sale in its
 2
     Risk/Eligibility section:
 3
 4
 5
 6
 7
 8
 9
10          52.    See DU Findings Report, dated July 3, 2012 (redacted excerpts attached

11 hereto as Exhibit 3) at page 2 of 7. These DU Findings further note that so long as the
12
     short sale was “completed two or more years from the credit report date” the loan could
13
14 still be approved. Id.
15          53.    However, the DU Findings reported that the proposed loan was not
16
     eligible for delivery to Fannie Mae because of a foreclosure:
17
18
19
20
21
22
23
24 See Exhibit 3 at page 1 of 7. This resulted in a “Refer with Caution” recommendation
25
     which amounts to a credit denial per Fannie Mae’s Selling Guide.
26
27          54.    NationsChoice also shared with Plaintiffs excerpts from a tri-merge credit

28 report accessed in connection with Plaintiffs’ credit application which confirmed that,

                                                12
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 1 despite Plaintiffs’ short sale (and the delinquent mortgage payments immediately
 2
     preceding same), Plaintiffs’ credit scores remained in the 700s, which would otherwise
 3
     allow them to obtain conventional mortgage financing.
 4
 5          55.    The tri-merge credit report further confirmed that none of Plaintiffs’
 6
     creditors were reporting Plaintiffs as having been through a foreclosure.
 7
            56.    Plaintiffs now began to understand that their inability to obtain
 8
 9 conventional mortgage financing was a result of Fannie Mae’s reading (or misreading)
10
     of Plaintiffs’ accurate credit report information.
11
                  E. Plaintiffs Are Denied Mortgage Financing By Amerisave
12
13          57.    Mrs. Zabriskie, who has worked in the area of loan origination her entire
14
     eighteen (18) year career, and who knows what criteria generally meets loan approval,
15
     took it upon herself to research into the issue to try and find a quick solution.
16
17          58.    Mrs. Zabriskie contacted numerous lenders and brokers who could
18
     provide no advice.
19
            59.    Eventually, on or around July 19, 2012, Mrs. Zabriskie was assured by a
20
21 representative of Amerisave Mortgage Corporation (“Amerisave”) that he knew of the
22
     specific problem that Plaintiffs were going through and that his company could help
23
     with the approval of the financing through a “manual underwriting” process.
24
25          60.    Relying on these representations, Plaintiffs applied and were prequalified
26
     for conventional mortgage loan refinancing with Amerisave.
27
28

                                                  13
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 1         61.    However, after obtaining and relying upon a DU Findings report it
 2
     purchased from Defendant Fannie Mae, which again falsely stated that Plaintiffs’
 3
     previous mortgage accounts were coded as subject to a foreclosure, Amerisave indicated
 4
 5 to Plaintiffs that their application process had hit a snag.
 6
           62.    Over the course of the next few months, Plaintiffs worked tirelessly with
 7
     Amerisave to ultimately gain approval for the loan despite the negative DU Findings
 8
 9 report from Fannie Mae. As part of this process, Plaintiffs paid extra money for
10
     Amerisave to attempt a “Rapid Recheck” with one or more credit reporting agency. See
11
     Email from Amerisave representative to Mrs. Zabriskie, dated October 5, 2012 (a copy
12
13 of which is attached hereto as Exhibit 4).
14
           63.    On or around October 5, 2012, despite all of the additional efforts made
15
     and documentation clearly evidencing the short sale in the hands of Amerisave,
16
17 Plaintiffs received a final determination that their loan application with Amerisave had
18
     in fact been denied. See Statement of Credit Denial, Termination or Change, dated
19
     October 5, 2012 (a copy of which is attached hereto as Exhibit 5).
20
21         64.    Amerisave also shared with Plaintiffs excerpts from a tri-merge credit
22
     report accessed in connection with Plaintiffs’ credit application which confirmed that,
23
     despite Plaintiffs’ short sale (and the delinquent mortgage payments immediately
24
25 preceding same), Plaintiffs’ credit scores remained in the 700s, which would otherwise
26
     allow them to obtain conventional mortgage financing. See Exhibit 5 at page 2 of 2.
27
28

                                                 14
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 1          65.    The tri-merge credit report further confirmed that none of Plaintiffs’
 2
     creditors were reporting Plaintiffs as having been through a foreclosure.
 3
            66.    Thus, Plaintiffs were ultimately unable to secure financing with
 4
 5 Amerisave, based at least in part on the false information in the DU Findings report.
 6
            67.    Plaintiffs were shocked, embarrassed and devastated.
 7
            68.    Amerisave representatives were also discouraged by the result, but told
 8
 9 Plaintiffs that it was Fannie Mae who was the ultimate decision-maker.
10
            69.     As with NationsChoice previously, Plaintiffs were out the money spent
11
     on application and appraisal fees with the denial.
12
13          70.    Plaintiffs were especially aggravated and disheartened by the fact that
14
     there was seemingly nothing they nor their prospective lenders could do about the
15
     “foreclosure” notation that was preventing them from obtaining financing, and that, to
16
17 date, they could find no evidence of it anywhere on their personal credit reports.
18
            71.    This determination was especially upsetting and maddening for Mrs.
19
     Zabriskie, who believed she had found a solution to the problem after expending
20
21 significant time and energy researching the issue over the previous several months.
22
                  F. Plaintiffs Are Approved For Refinancing At A Higher Interest Rate
23
            72.    Completely at a loss for how to proceed after the most recent denial, the
24
25 search for a solution became an increasing obsession for Mrs. Zabriskie. She continued
26
     researching endlessly, joining in on internet blogs and forums, and calling the credit
27
     bureaus and Fannie Mae directly to get to the bottom of the false foreclosure notation.
28

                                                 15
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 1          73.    While customer service representatives of Equifax, Experian and Trans
 2
     Union blamed Fannie Mae, Fannie Mae did not return Mrs. Zabriskie’s calls.
 3
            74.    In November 2012, the Zabriskies paid upfront fees of nearly $1,200.00 to
 4
 5 an attorney who purported to have a fix to the problem from a credit reporting
 6
     standpoint. This attempt to solve the problem also failed, and Plaintiffs again spent
 7
     substantial money without any results to show for it.
 8
 9          75.    As her research continued, Mrs. Zabriskie spoke with a representative of
10
     PrimeLending who suggested that the Zabriskies again apply for the financing, but to
11
     have the application run through different credit reporting resellers until approved.
12
13          76.    In August 2013, over a year after initiating the refinance process,
14
     Plaintiffs were finally approved for conventional mortgage financing.
15
            77.    If not for the gumption and perseverance of Mrs. Zabriskie in finding a
16
17 solution to the problem, the Zabriskies would probably still be without the mortgage
18
     financing they rightfully deserve.
19
            78.    However, whereas Amerisave had pre-approved them in July 2012 at an
20
21 interest rate of 3.5%, Plaintiffs were now stuck with a rate of 4.375%.
22
                  G. DU Wrongly Flags Any Serious Mortgage Delinquency As A
23                   Foreclosure
24
            79.    Upon information and belief, the Zabriskies are only two (2) of hundreds
25
26 of thousands (if not greater numbers) of homeowners who have had a short sale
27
28

                                                 16
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 1 misidentified by DU as a foreclosure, thereby preventing them from obtaining
 2
     conventional financing or refinancing.
 3
            80.    On March 13, 2013, Fannie Mae released a “Desktop Underwriter
 4
 5 Clarification” in response to mounting “requests for clarification on how Desktop
 6
     Underwriter identifies a foreclosure and a pre-foreclosure sale[.]”            See Desktop
 7
     Underwriter Clarification (a copy of which is attached hereto as Exhibit 6).
 8
 9          81.    In this regard, Fannie Mae described DU’s identification of a pre-
10
     foreclosure or short sale as follows:
11
12
13
14
15
16
17
18
19
20 See Exhibit 6 at 1 of 3.
21
         82.     Per the DU Findings used to deny Plaintiffs their refinance applications,
22
23 Plaintiffs’ previous short sale was specifically identified by DU. See Exhibit 3 at page 2
24 of 7.
25
            83.    So long as the pre-foreclosure or short sale was completed more than two
26
27 (2) years before the current application, that prospective loan is still eligible for
28 purchase by Fannie Mae, and DU will not refer, i.e., deny, the application. See Selling

                                                17
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 1 Guide, Part B, Subpart 3, Chapter 5 (relevant excerpts of the 2011 and 2013 versions of
 2
     which are attached collectively hereto as Exhibit 7) at 434 and 465, respectively.
 3
            84.    In describing DU’s identification of a foreclosure, Fannie Mae represents
 4
 5 as follows:
 6
 7
 8
 9
10
11
12
13 See Exhibit 6 at 1 of 3.
14          85.    Per this “Desktop Underwriter Clarification,” Fannie Mae admits that
15
     accounts reported by the original creditor merely as “collection or charge-off” –
16
17 accounts admittedly not in foreclosure – will be identified by the DU system as having
18 been in foreclosure.
19
            86.    Any prospective loan that DU identifies as having a foreclosure in the
20
21 previous seven (7) years will automatically be ineligible for purchase by Fannie Mae.
22 See Exhibit 7 at 464.
23
            87.    Thus, even though DU correctly identified Plaintiffs’ previous short sale,
24
25 acknowledging that so long as that short sale was more than two (2) years ago, DU also
26 manufactured a non-existent foreclosure for Plaintiffs and referred, i.e., denied, their
27
     application accordingly.
28

                                                18
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 1          88.    This incorrect identification by DU prevented Plaintiffs from obtaining
 2
     the refinancing for their current home.
 3
                  H. Fannie Mae Acknowledges Deficiency in DU Computer Software
 4
 5          89.    In May 2013, the Consumer Protection Subcommittee of the U.S. Senate
 6
     Committee on Commerce, Science & Transportation held a hearing on Capitol Hill to
 7
     address a variety of problems plaguing the consumer reporting industry.
 8
 9          90.    During this hearing, Senator Bill Nelson, D-Fla., raised serious concerns
10
     about the significant and growing numbers of his constituents that had been denied
11
     conventional financing due to DU wrongly identifying a foreclosure, in addition to, or
12
13 instead of, a short sale.
14
            91.    After months of prodding from Senator Nelson, the Consumer Financial
15
     Protection Bureau, the National Consumer Reporting Association and the National
16
17 Association of Realtors, Fannie Mae announced a change to its automated DU system to
18
     “fix” the problem:
19
20
21
22
23
24
25
26
27 See Desktop Originator/Desktop Underwriter Release Notes DU Version 9.1 (relevant
28 excerpts of which are attached collectively hereto as Exhibit 8) at 6.

                                                19
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 1         92.    While these changes are expected to take effect the week of November 16,
 2
     2013, see Exhibit 8 at 1, and hopefully will allow consumers to rightfully obtain
 3
     conventional financing without any hitches going forward, the Zabriskies have already
 4
 5 suffered substantial economic and non-economic harm.
 6
                                   V. CAUSES OF ACTION
 7
 8                     FAIR CREDIT REPORTING ACT VIOLATIONS
 9
           93.    Plaintiff hereby incorporates by reference all well-pleaded allegations
10
11 contained in the preceding paragraphs as if fully rewritten herein.
12         94.    Section 1681o of the FCRA provides for civil liability against any CRA
13
     that is negligent in failing to comply with any requirement imposed under the Act.
14
15         95.    Section 1681n of the FCRA imposes civil liability on any CRA “who

16 willfully fails to comply with any requirement” of the Act. See 15 U.S.C. § 1681n(a).
17
                  Failure To Adopt And/Or Follow Reasonable Procedures
18
19         96.    The FCRA mandates that “[w]henever a consumer reporting agency
20
     prepares a consumer report it shall follow reasonable procedures to assure maximum
21
     possible accuracy of the information concerning the individual about whom the report
22
23 relates.” See 15 U.S.C. § 1681e(b).
24
           97.    The DU Findings Report generated by Fannie Mae’s DU system is a
25
     consumer report as defined by Section 1681a(d) of the FCRA.
26
27         98.    On numerous occasions over the past two (2) years, Fannie Mae has
28
     prepared a consumer report concerning Plaintiffs, and disseminated such report to one
                                               20
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 1 or more third party(s), that failed to assure “maximum possible accuracy” of
 2
     information pertaining to Plaintiffs.
 3
            99.    Fannie Mae willfully and/or negligently failed to follow reasonable
 4
 5 procedures to assure maximum possible accuracy of the consumer reports it prepared
 6
     and/or published concerning Plaintiffs, in violation of 15 U.S.C. § 1681e(b).
 7
            100.   To the contrary, Fannie Mae has affirmatively adopted and follows an
 8
 9 unreasonable foreclosure identification procedure that, on its plain terms, knowingly
10
     misidentifies non-foreclosures as foreclosures.
11
            101.   As a direct and proximate result of Fannie Mae’s willful and/or negligent
12
13 refusal to follow reasonable procedures as mandated by the FCRA, Plaintiffs have
14
     suffered loss and damage including, but not limited to: financial loss, loss of credit
15
     opportunity, a justifiable fear to request credit, expenditure of significant time and
16
17 resources, mental anguish, humiliation, and embarrassment, entitling them to an award
18
     of actual damages in amounts to be proved at trial, plus attorneys’ fees together with the
19
     costs of this action pursuant to 15 U.S.C. § 1681o.
20
21          102.   Fannie Mae’s refusal to follow reasonable procedures as mandated by the
22
     FCRA reveals a conscious disregard of the rights of Plaintiffs. The injuries suffered by
23
     Plaintiffs are attended by circumstances of fraud, malice, retaliation, and willful and
24
25 wanton misconduct, calling for statutory damages, an assessment of punitive damages,
26
     plus attorneys’ fees and costs pursuant 15 U.S.C. § 1681n.
27
28

                                                21
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1          WHEREFORE, Plaintiffs, Richard and Kristin Zabriskie, pray for judgment in
2
     their favor and against Defendants Fannie Mae and FHFA, and for the following relief:
3
           A.     An award of actual damages in such amounts as determined by the jury;
4
5          B.     Statutory damages pursuant to 15 U.S.C. § 1681n;
6
           C.     An assessment of punitive damages against Defendant pursuant to 15
7                 U.S.C. § 1681n;
8
           D.     Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1681n and
9                 15 U.S.C. § 1681o; and
10
           E.     Such other and further relief as may be just and proper.
11
                                     VI. JURY DEMAND
12
13         103.   Plaintiffs hereby demand a trial by jury on all their claims.
14
15
     DATED: November 4, 2013.                 Respectfully Submitted,
16
17
                                                /s/ Paul B. Mengedoth
18
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